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ei U.S. Department of Justice

   

 

 

United States Attorney
District of Maryland
Southern Division
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Matthew. DellaRetta@usdoj. gov Baltimore, MD 2120] Baltimore, MD 21201
July 3, 2019
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Russell Neverdon, Esq. Se
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VIA EMAIL oo FF
SO. : MN ao”
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Re: United States v. Davon Johnson an
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Criminal No. ELH-18-493 cp fp Teo,
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Dear Counsel: = a

This ietter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, Davon Johnson (hereinafter “Defendant”), by
the United States Attorney’s Office for the District of Maryland (“this Office”). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this plea
offer is not accepted by July 19, 2019, the offer will be deemed withdrawn. The terms of the
Agreement are as follows:

Offense of Conviction

1. The Defendant agrees to plead guilty to Count One of the Superseding Indictment,
which charges the Defendant with conspiracy to distribute a controlled substance, in violation of
21 U.S.C. § 846. The Defendant admits that the Defendant is, in fact, guilty of the offense and
will so advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows: That from in or about
November 2017 through October 2018, in the District of Maryland:

a. There existed an agreement between two or more persons to distribute and possess with
intent to distribute a mixture or substance containing a detectable amount of heroin, a

Schedule I controlled substance;

b. The Defendant knew of this agreement;

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c. The Defendant knowingly and voluntarily participated in or became a part of this

 

 

 

 

 

 

 

 

 

 

 

agreement.
Penalties
3. The maximum penalties provided by statute for the offense(s) to which the
Defendant is pleading guilty are as follows:
Count Statute Minimum Maximum Supervised Maximum Special
Prison Prison Release Fine Assessment
One | 7LUSC | Nia 20 years | 2 %8SMIn. | gi oG0,000/ — $100
§ 846 Life max. ?
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons

has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

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Waiver of Rights

4, The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to cail witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

d. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify,

e. If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the-right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

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2. If the Court accepts the Defendant's plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h, By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28
U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein.

a. This Office and the Defendant further agree that the applicable base offense
level is 30 pursuant to United States Sentencing Guidelines (“U.S.S.G.”)} § 2D1.1(c)(5) because it
was reasonably foreseeable to the Defendant that the conspiracy would distribute at least 1
kilogram of a mixture or substance containing heroin, and the Defendant possessed with intent to
distribute at least 1 kilogram of heroin.

b. This Office does not oppose a 2-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
1-level decrease in recognition of the Defendant’s timely notification of the Defendant’s intention
to enter a plea of guilty. This Office may oppose any adjustment for acceptance of responsibility
under U.S.S.G. § 3E1.1({a) and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if
the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii) denies
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involvement in the offense; (iii) gives conflicting statements about the Defendant’s involvement
in the offense; (jv) is untruthful with the Court, this Office, or the United States Probation Office;
(v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (viii) violates this Agreement in any way.

c. Therefore, the total offense level is 27.

7. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule 11{c)(1)(C) Plea

9. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that a sentence of 60 months of incarceration is the appropriate disposition in this
case. This agreement does not affect the Court’s discretion to impose any lawful term of supervised
release, restitution, or fine, or to set any lawful conditions of probation or supervised release. If
the Court rejects this plea agreement, either party may elect to declare the agreement void. Should
the Defendant elect to do so, he will be afforded the opportunity to withdraw his plea pursuant to
the provisions of Federal Rule of Criminal Procedure 11(c)(5).

10. The parties also agree that a sentence of 60 months of incarceration is a reasonable
and appropriate sentence, taking into consideration the nature and circumstances of the offense,
and the Defendant’s criminal history, and all of the other factors set forth in 18 U.S.C. § 3553(a).

Obligations of the Parties

11. At the time of sentencing, this Office and the Defendant reserve the right to
advocate for a reasonable period of supervised release, and/or fine considering any appropriate
factors under 18 U.S.C. § 3553(a). This Office and the Defendant reserve the right to bring to the
Court’s attention all information with respect to the Defendant’s background, character, and
conduct that this Office or the Defendant deem relevant to sentencing, including the conduct that
is the subject of any counts of the Indictment. At the time of sentencing, this Office will move to
dismiss any open counts against the Defendant.

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Waiver of Appeal

12. In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s), to the extent that such
challenges legally can be waived.

b, The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release), except as follows:

i. The Defendant reserves the right to appeal the sentence of
imprisonment if the total term of imprisonment exceeds 60 months: and

ii. This Office reserves the right to appeal the sentence of
imprisonment if the total term of imprisonment is less than 60 months.

c. The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Defendant’s Conduct Prior to Sentencing and Breach

13. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

14. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including

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statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule'!1 of the Federal’ Rules of Criminal
Procedure, A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1)(C)—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Governinent will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C). _

Court Nota Party

15. The Court is not a party to this-Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court wil] determine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. If the Court makes sentencing
findings different from those stipulated in this Agreement, or if the Court imposes any sentence up
to the maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations
under this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement

16. This letter, together with the Sealed Supplement, constitutes the complete plea
- agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,
Robert K. Hur

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Matthew DellaBetta
Christopher Rigali
Assistant United States Attorneys

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I have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. T understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

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I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and dy,

 

   

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ATTACHMENT A

STIPULATION OF FACTS
The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

In the spring and summer of 2018, the Drug Enforcement Administration (“DEA”), with
the assistance of the Baltimore Police Department (“BPD”), conducted an investigation into a drug
trafficking organization (“DTO”) operating in the vicinity of 1500 Stricker Street in Baltimore,
Maryland. Law enforcement employed a wide variety of investigative tools during the course of
its months-long investigation, including the use of physical and electronic surveillance, wiretaps,
undercover buys, and search warrants. The investigation revealed that the DTO primarily
trafficked in heroin, operating at least one “drug shop” on a daily basis that served street-level
buyers. The DTO conducted street-level heroin sales at the drug shop from approximately 7:00
a.m. through the late evening on a daily basis. The DTO sold thousands of dollars of heroin per
day. In the course of this investigation, DEA investigators seized over a kilogram of heroin from
the DTO.

On September 21,2018, DEA investigators executed a federal search warrant at 2529
Calverton Heights Avenue, Baltimore, Maryland. Upon entry, DAVON JOHNSON and two co-
conspirators ran out of the basement of the residence, but were stopped by DEA agents, Agents
searched the basement and recovered over one kilogram of heroin from the basement, as well as

cutting agents spread over a table. JOHNSON and the two co-conspirators knowingly possessed . ©

the heroin with the intent to distribute it. During the time period charged in the Superseding
Indictment, DAVON JOHNSON agreed with others to distribute and possess with intent to
distribute heroin, a Schedule I controlled substance. As a part of that agreement, JOHNSON
possessed inore than 1 kilogram of heroin and it was reasonably foreseeable to JOHNSON that
the conspiracy would distribute more than 1 kilogram of heroin.

SO STIPULATED:

 

Matthew DellaBetta
Christopher Rigali
Assistant United States Attorneys

DATED: 7 U// LA {

 

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